            Case 2:08-cr-00392-GEB Document 168 Filed 10/08/09 Page 1 of 2


1    Scott N. Cameron (SBN 226605)
     Attorney at Law
2    1007 7th Street, Suite 319
     Sacramento, CA 95814
3    Telephone: 916-442-5230
4    Attorney for:
     SARAH LANCASTER
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )        CASE NO.    CR S-08-392 GEB
                                   )
11                  Plaintiff,     )        STIPULATION AND [PROPOSED] ORDER
                                   )        CONTINUING SENTENCING HEARING
12        v.                       )
                                   )
13   SARAH LANCASTER, et. al,      )        DATE:    October 9, 2009
                                   )        TIME:    9:00 a.m.
14                  Defendants.    )        COURT:   Hon. Garland E. Burrell
     ______________________________)
15
16                                    Stipulation
17         The parties, through undersigned counsel, stipulate that the
18   judgement and sentencing hearing scheduled for October 9, 2009, may be
19   continued to December 11, 2009, at 9:00 a.m.
20         Pursuant to the plea agreement, filed under seal with this Court,
21   the additional time is necessary before judgment and sentencing may be
22   pronounced.
23         The prosecutor has authorized defense counsel to sign this
24   stipulation on his behalf.
25   / /
26   / /
27   / /
28

                                            1
              Case 2:08-cr-00392-GEB Document 168 Filed 10/08/09 Page 2 of 2


1    DATED: October 6, 2009                LAWRENCE G. BROWN
                                           United States Attorney
2
3
                                    by     /s/ Scott Cameron, for
4                                          Michael Beckwith
                                           Assistant U.S. Attorney
5
6    DATED: October 6, 2009
7                                   by     /s/ Scott N. Cameron
                                           Scott N. Cameron
8                                          Counsel for Scott N. Cameron
9
                                            Order
10
          Good cause appearing,
11
          The     sentencing    hearing    scheduled   for   October   9,      2009,   is
12
     continued to December 11, 2009, at 9:00 a.m.
13
14
          IT IS SO ORDERED.
15
16   Dated:     October 7, 2009

17
18                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
19
20
21
22
23
24
25
26
27
28

                                              2
